                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                           CASE NO. 5:22-CV-033-KDB-DCK

 LOWES COMPANIES, INC.,                                 )
                                                        )
                 Plaintiff,                             )
                                                        )
    v.                                                  )      STIPULATED PROTECTIVE
                                                        )              ORDER
 FERRANDINO AND SON, INC.,                              )
                                                        )
                 Defendant.                             )
                                                        )

         THIS MATTER IS BEFORE THE COURT on the parties’ proposed Stipulated

Protective Order (Document No. 26) filed July 8, 2022. The Court adopts the parties Stipulated

Protective Order.

         Plaintiff Lowe’s Companies, Inc. (“Plaintiff”) and Defendant Ferrandino and Son, Inc.

(“Defendant”) (collectively, “the Parties”), by and through their respective counsel, stipulate and

agree, and the Court ORDERS as follows:

   1. Scope. All documents produced in the course of discovery, including initial disclosures,

all responses to discovery requests, all deposition testimony and exhibits, other materials which

may be subject to restrictions on disclosure for good cause and information derived directly

therefrom (hereinafter collectively “documents”), shall be subject to this Order concerning

confidential information as set forth below. This Order is subject to the Local Rules of this Court

and the Federal Rules of Civil Procedure on matters of procedure and calculation of time periods.

Any motion, memorandum, document or other paper filed with the Court is presumptively a public

document and any decision of the Court regarding whether to allow any filing to be made under

seal is subject to Local Rule 6.1 and applicable law.




      Case 5:22-cv-00033-KDB-DCK Document 27 Filed 07/08/22 Page 1 of 11
   2. Form and Timing of Designation. A party or nonparty may designate documents as

confidential and restricted in disclosure under this Order by placing or affixing the words

“CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” (hereinafter referred to as

“CONFIDENTIAL”) or “ATTORNEYS’ EYES ONLY – SUBJECT TO PROTECTIVE

ORDER” (hereinafter referred to as “AEO”) on the document in a manner that will not interfere

with the legibility of the document and that will permit complete removal of the CONFIDENTIAL

or AEO designation. Documents shall be designated CONFIDENTIAL or AEO prior to or at the

time of the production or disclosure of the documents by a party. With respect to documents

produced by a nonparty subject to a subpoena or otherwise, the parties will have thirty (30) days

from receipt of the production to designate material as CONFIDENTIAL or AEO.                     A

CONFIDENTIAL or AEO designation does not mean that the document has any status or

protection by statute or otherwise except to the extent and for the purposes of this Order.

   3. Documents Which May be Designated CONFIDENTIAL. Any party or nonparty may

designate documents as CONFIDENTIAL upon making a good faith determination that the

documents contain information protected from disclosure by statute or that should be protected

from disclosure as confidential business or personal information, trade secrets, personnel records,

or such other sensitive information that is not publicly available. Third party, as used herein, is

defined as not including paid software and hardware consultants, accountants, or attorneys of the

parties. Public records and other information or documents that are publicly available through no

fault of a party may not be designated as CONFIDENTIAL.

   4. Documents Which May be Designated AEO. Any party or nonparty may designate as

AEO and subject to this Order any documents or information that meet the test set forth in

Paragraph 3, but as to which the producing party also asserts in good faith that the information is




      Case 5:22-cv-00033-KDB-DCK Document 27 Filed 07/08/22 Page 2 of 11
so competitively sensitive that the receipt of the information by parties to the litigation could result

in competitive harm to the producing party.

    5. Depositions. Deposition testimony and exhibits shall be deemed CONFIDENTIAL or

AEO only if designated as such. Counsel for any party or witness may designate testimony and

exhibits as CONFIDENTIAL or AEO at the time of the deposition or within thirty (30) days after

receipt of the deposition transcript. Such designation shall be specific as to the portions of the

transcript or any exhibit to be designated as CONFIDENTIAL or AEO. Thereafter, the deposition

transcripts and any of those portions so designated shall be protected as CONFIDENTIAL or AEO,

pending objection under the terms of this Order.

    6. Protection of Confidential or AEO Material.

    (a) General Protections. Documents designated CONFIDENTIAL or AEO under this Order
        shall not be used or disclosed by the parties, counsel for the parties or any other persons
        identified in 6(b) or (c) for any purpose whatsoever other than to prepare for and to conduct
        discovery and trial in this action, including any appeal thereof.

    (b) Protection of Documents Designated CONFIDENTIAL. The parties and counsel for
        the parties shall not disclose or permit the disclosure of any CONFIDENTIAL documents
        or information to any third person or entity except as set forth in subparagraphs (1)-(9).
        Subject to these requirements, the following categories of persons may be allowed to
        review documents or information that have been designated CONFIDENTIAL:

                (1)     Counsel. Outside and in-house counsel for the parties and employees and
                        agents of counsel who have responsibility for the preparation and trial of
                        the action;

                (2)     Parties. Parties and employees of a party to this Order;

                (3)     Former employees. Former employees of the producing party in
                        connection with their depositions in this action (provided that no former
                        employees shall be shown documents prepared after the date of his or her
                        departure);

                (4)     Custodians. The authors and any original recipients of the documents;

                (5)     Court Reporters and Recorders. Court reporters and recorders engaged
                        for depositions;




      Case 5:22-cv-00033-KDB-DCK Document 27 Filed 07/08/22 Page 3 of 11
           (6)     Consultants, Investigators and Experts. Consultants, investigators, or
                   experts (hereinafter referred to collectively as “experts”) employed by the
                   parties or counsel for the parties to assist in the preparation and trial of this
                   action or proceeding, but only after such persons have completed the
                   certification contained in Attachment A, ACKNOWLEDGMENT AND
                   AGREEMENT TO BE BOUND;

           (7)     Third Party Service Providers. Employees of copy services, microfilming
                   or database services, trial support firms, and/or translators who are engaged
                   by the parties during the litigation of this action;

           (8)     Mediators. Any mediators before whom the parties agree to mediate
                   disputes; and

           (9)     Others by Consent. Other persons only by written consent of the
                   producing party or upon order of the Court and on such conditions as may
                   be agreed or ordered. All such persons shall execute the certification
                   contained in Attachment A, ACKNOWLEDGMENT AND AGREEMENT
                   TO BE BOUND.

(c) Protection of Documents Designated AEO. Use of any information, documents, or
    portions of documents marked AEO, including all information derived therefrom, shall be
    restricted solely to the following persons who agree to be bound by the terms of this Order,
    unless additional persons are stipulated by counsel or authorized by the Court:

           (1)     Outside counsel of record for the parties, and employees and agents of
                   counsel who have responsibility for the preparation and trial of the action;

           (2)     One designated representative from in-house counsel for the parties;

           (3)     Independent consultants or expert witnesses (including partners, associates
                   and employees of the firm which employs such consultant or expert) retained
                   by a party or its attorneys for purposes of this litigation, but only to the extent
                   necessary to further the interest of the parties in this litigation, and only after
                   such persons have completed the certification attached hereto as
                   Attachment A, ACKNOWLEDGMENT OF UNDERSTANDING AND
                   AGREEMENT TO BE BOUND;

           (4)     The Court and its personnel, including, but not limited to, stenographic
                   reporters regularly employed by the Court and stenographic reporters not
                   regularly employed by the Court who are engaged by the Court or the parties
                   during the litigation of this action;

           (5)     Any mediators before whom the parties agree to mediate disputes;

           (6)     The authors and the original recipients of the documents;




  Case 5:22-cv-00033-KDB-DCK Document 27 Filed 07/08/22 Page 4 of 11
           (7)     Any court reporter or videographer reporting a deposition;

           (8)     Employees of copy services, microfilming or database services, trial
                   support firms, and/or translators who are engaged by the parties during the
                   litigation of this action; and

           (9)     Any other person agreed to in writing by the parties or such persons as
                   permitted by the Court upon a showing of good cause.

   Persons not identified in paragraph 6 may be interviewed or examined by any party
   concerning CONFIDENTIAL or AEO documents, including the disclosure thereof, when
   that person had prior knowledge of the documents.

(d) Control of Documents. Counsel for the parties shall take reasonable and appropriate
    measures to prevent unauthorized disclosure of documents designated as
    CONFIDENTIAL or AEO pursuant to the terms of this Order. Counsel shall maintain the
    originals of the forms signed by persons acknowledging their obligations under this Order
    for a period of one (l) year after dismissal of the action, the entry of final judgment and/or
    the conclusion of any appeals arising therefrom. Nothing herein shall affect or restrict the
    rights of any party with respect to its own documents or to the information obtained or
    developed independently of documents, transcripts and materials afforded confidential
    treatment pursuant to this Order.

(e) Copies. Prior to production to another party, all copies, electronic images, duplicates,
    extracts, summaries or descriptions (hereinafter referred to collectively as “copies”) of
    documents designated as CONFIDENTIAL or AEO under this Order, or any individual
    portion of such a document, shall be affixed with the designation “CONFIDENTIAL -
    SUBJECT TO PROTECTIVE ORDER” or “ATTORNEYS’ EYES ONLY – SUBJECT
    TO PROTECTIVE ORDER” if the word does not already appear on the copy. All such
    copies shall thereafter be entitled to the protection of this Order. The term “copies” shall
    not include indices, electronic databases or lists of documents provided these indices,
    electronic databases or lists do not contain substantial portions or images of the text of
    confidential documents or otherwise disclose the substance of the confidential information
    contained in those documents.

(f) Electronic Copies. In the event the designating party produces information or materials
    in electronic form which has been designated “CONFIDENTIAL” or “AEO” pursuant to
    the terms hereof, then if that information or material is copied or printed by the party
    receiving such information or materials, it is agreed and understood the materials will be
    appropriately labeled as “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” or
    “ATTORNEYS’ EYES ONLY – SUBJECT TO PROTECTIVE ORDER” on the copied
    or printed version of the information or materials.

(g) Inadvertent Production. The Parties are to make a good faith effort to designate
    documents properly at the time of production. However, inadvertent or unintentional
    disclosure by any Party (a “Producing Party”) of documents without any designation will
    not be deemed a waiver of a Party’s claim of confidentiality, privilege, or any other



  Case 5:22-cv-00033-KDB-DCK Document 27 Filed 07/08/22 Page 5 of 11
       protection, either as to the specific document or information contained therein, and the
       Parties, upon notice thereafter, are to treat such documents as Confidential or AEO.

           a. Upon receipt of such notice, the party receiving the document (the “Receiving
              Party”) may nonetheless challenge the subsequent designation as set forth herein.
              The Parties agree that the mere fact that the designation was not made at the time
              of production shall not be raised by the Receiving Party as a basis to claim that the
              Producing Party waived its designation, privilege or other protection, but instead
              the Parties shall make arguments solely as though the designation, privilege or other
              claimed protection had been made on the date of production. A Receiving Party is
              to make a good faith effort to locate and mark appropriately any documents upon
              receipt of such notice. If, between the time of production and notification, the
              subject document was provided by a Receiving Party to persons other than those
              who would be entitled to review the document under this Order (a “Qualified
              Person”), the Receiving Party shall promptly notify all non-Qualified Persons to
              whom the subject document had been disclosed of such document’s Confidential
              or AEO designation and request that all such non-Qualified Persons return such
              document to the Receiving Party or execute the Confidentiality Agreement to be
              bound by the terms of this Order attached hereto as Attachment A,
              ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND. In the event that
              any non-Qualified Person to whom such document had been disclosed fails or
              declines to return the Confidential or AEO material or execute Attachment A, the
              Receiving Party shall promptly notify the Producing Party and not oppose any
              reasonable efforts by the Producing Party to retrieve the Confidential or AEO
              material from the non-Qualified Person or obtain the non-Qualified Person’s
              agreement to abide by the terms of this Order.

           b. Inadvertent production of privileged or work product protected documents shall be
              subject to further protection pursuant to paragraph 12. In the case of any privileged
              or work product protected documents, upon receipt of such notice, the Receiving
              Party is to make a good faith effort to destroy or return any such documents,
              including any copies that may have been provided by a Receiving Party to any
              Qualified Person or non-Qualified Person. In the event that any Qualified Person
              or non-Qualified Person to whom such document had been disclosed fails or
              declines to return the document, the Receiving Party shall promptly notify the
              Producing Party and not oppose any reasonable efforts by the Producing Party to
              retrieve the document.

   7. Filing of CONFIDENTIAL or AEO Documents Under Seal. To the extent that a brief,

memorandum or pleading references any document marked as CONFIDENTIAL or AEO, then

the brief, memorandum or pleading shall refer the Court to the particular document filed under

seal without disclosing the contents of any confidential information.




     Case 5:22-cv-00033-KDB-DCK Document 27 Filed 07/08/22 Page 6 of 11
       (a) Before any document marked as CONFIDENTIAL or AEO is filed under seal with the
           Clerk, the filing party may first consult with the party that originally designated the
           document as CONFIDENTIAL or AEO to determine whether, with the consent of that
           party, the document or a redacted version of the document may be filed with the Court
           not under seal.

       (b) If no agreement is entered; then any CONFIDENTIAL or AEO document being filed
           with the Clerk shall be filed under seal pursuant to Local Rule 6.1 and applicable law.

       (c) To the extent that it is necessary for a party to discuss the contents of any confidential
           information in a written pleading, then such portion of the pleading may be filed under
           seal with leave of Court. In such circumstances, counsel shall prepare two versions of
           the pleadings, a public and a confidential version. The public version shall contain a
           redaction of references to CONFIDENTIAL or AEO documents. The confidential
           version shall be a full and complete version of the pleading and shall be filed with the
           Clerk under seal.

   8. Challenges by a Party to Designation as Confidential. Any CONFIDENTIAL or AEO

designation is subject to challenge by any party or nonparty with standing to object. Before filing

any motions or objections to a confidentiality designation with the Court, the objecting party shall

have an obligation to meet and confer in a good faith effort to resolve the objection by agreement.

If agreement is reached confirming or waiving the CONFIDENTIAL or AEO designation as to

any documents subject to the objection, the designating party shall serve on all parties a notice

specifying the documents and the nature of the agreement.

   9. Action by the Court. Applications to the Court for an Order relating to any documents

designated CONFIDENTIAL or AEO shall be by motion under the local rules and any other

procedures set forth in the standing orders or other relevant orders. During the pendency of any

challenge to the designation of a document or information, the designated document or information

shall continue to be treated as CONFIDENTIAL or AEO subject to the provisions of this Order.

Nothing in this Order or any action or agreement of a party under this Order limits the Court’s

power to make any orders that may be appropriate with respect to the use and disclosure of any

documents produced or used in discovery or at trial.




      Case 5:22-cv-00033-KDB-DCK Document 27 Filed 07/08/22 Page 7 of 11
   10. Use of Confidential Documents or Information at Trial. All trials are open to the public.

Absent order of the Court, there will be no restrictions on the use of any document that may be

introduced by any party during the trial. If a party intends to present at trial CONFIDENTIAL or

AEO documents or information derived therefrom, such party shall provide advance notice to the

other party and Court at least five (5) days before the commencement of trial by identifying the

documents or information at issue as specifically as possible (i.e., by Bates number, page range,

deposition transcript lines, etc.) without divulging the actual CONFIDENTIAL or AEO documents

or information. The Court may thereafter make such orders as are necessary to govern the use of

such documents or information at trial.

   11. Obligations on Conclusion of Litigation.

           (a) Order Remains in Effect. Unless otherwise agreed or ordered, this Order shall
               remain in force after dismissal or entry of final judgment not subject to further
               appeal.

           (b) Return of Confidential or AEO Documents. Within thirty (30) days after
               dismissal or entry of final judgment not subject to further appeal, all documents
               treated as CONFIDENTIAL or AEO under this Order, including copies as defined
               in 6(e), shall be returned to the producing party unless: (1) the document has been
               offered into evidence or filed without restriction as to disclosure; (2) the parties
               agree to destruction in lieu of return; or (3) as to documents bearing the notations,
               summations, or other mental impressions of the receiving party, that party elects to
               destroy the documents and certifies to the producing party that it has done so.
               Notwithstanding the above requirements to return or destroy documents, counsel
               may retain attorney work product, including an index which refers or relates to
               information designated CONFIDENTIAL or AEO, so long as that work product
               does not duplicate verbatim substantial portions of the text or images of confidential
               documents. This work product shall continue to be CONFIDENTIAL or AEO
               under this Order. An attorney may use his or her work product in a subsequent
               litigation provided that its use does not disclose or use CONFIDENTIAL or AEO
               documents.

           (c) Return of Documents Filed Under Seal. After dismissal or entry of final
               judgment not subject to further appeal, the Clerk may elect to return to counsel for
               the parties or, after notice, destroy documents filed or offered at trial under seal or
               otherwise restricted by the Court as to disclosure.




     Case 5:22-cv-00033-KDB-DCK Document 27 Filed 07/08/22 Page 8 of 11
            (d) Ultimate Disposition Subject to Court Order. The ultimate disposition of
                protected materials is subject to a final order of the Court on the completion of the
                litigation.

    12. Privileged or Work Product Protected Documents. The production of privileged or

work product protected documents, whether inadvertent or otherwise, is not a waiver of the

privilege or protection from discovery in this case or any other federal or state proceeding. This

provision shall be interpreted to provide the maximum protection allowed by Federal Rule of

Evidence 502(d). Nothing contained in this paragraph is intended to limit a party’s right to conduct

a review of documents for relevance, responsiveness, or segregation of privileged and/or protected

information before production.

    13. Order Subject to Modification. This Order shall be subject to modification by the Court

on its own motion or on motion of a party or any other person with standing concerning the subject

matter. Motions to modify this Order shall be served and filed under the local rules or other

relevant orders.

    14. No Prior Judicial Determination. This Order is entered based on the representations and

agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall be

construed or presented as a judicial determination that any documents or information designated

CONFIDENTIAL or AEO by counsel or the parties is subject to protection under Rule 26(c) of

the Federal Rules of Civil Procedure or otherwise until such time as the Court may rule on a

specific document or issue. Neither the designation of any information, document, or the like as

CONFIDENTIAL or AEO, nor the failure to make such designation, shall constitute evidence with

respect to any issue in this action.

    15. Persons Bound. This Order shall take effect when entered and shall be binding upon all

counsel and their law firms, the parties, and person made subject to this Order by its terms.




      Case 5:22-cv-00033-KDB-DCK Document 27 Filed 07/08/22 Page 9 of 11
Signed: July 8, 2022




              IT IS SO ORDERED.




               WE SO MOVE/STIPULATE and agree              WE SO MOVE/STIPULATE and agree
               to abide by the terms of this Order         to abide by the terms of this Order


               /s/ Benjamin E. Shook                       /s/ Kasi W. Robinson
               Scott M. Tyler (N.C. Bar No. 23300)         Clint S. Morse (N.C. Bar No. 38384)
               Benjamin E. Shook (N.C. Bar No. 44793)      Kasi W. Robinson (N.C. Bar No. 52439)
               James C. Manning (N.C. Bar No. 49372)       BROOKS, PIERCE, MCLENDON,
               MOORE & VAN ALLEN PLLC                      HUMPHREY & LEONARD, LLP
               100 N. Tryon Street, Suite 4700             2000 Renaissance Plaza
               Charlotte, NC 28202-4003                    230 North Elm Street
                                                           Greensboro, NC 27401
               Attorneys for Plaintiff
                                                           Attorneys for Defendant




                       Case 5:22-cv-00033-KDB-DCK Document 27 Filed 07/08/22 Page 10 of 11
                                       ATTACHMENT A

                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                          CASE NO. 5:22-CV-033-KDB-DCK

 LOWE’S COMPANIES, INC.,

                Plaintiff,
                                                           ACKNOWLEDGMENT AND
         v.                                               AGREEMENT TO BE BOUND
 FERRANDINO AND SON, INC.,

                Defendant.


        The undersigned hereby acknowledges that he/she has read the Protective Order dated
__________________ in the above-captioned action and attached hereto, understands the terms
thereof, and agrees to be bound by its terms. The undersigned submits to the jurisdiction of the
United States District Court, Western District of North Carolina in matters relating to the
Protective Order and understands that the terms of the Protective Order obligate him/her to use
documents designated “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” or
“ATTORNEYS’ EYES ONLY – SUBJECT TO PROTECTIVE ORDER” in accordance with the
Order solely for the purposes of the above-captioned action, and not to disclose any such
documents or information derived directly therefrom to any other person, firm or concern. Upon
termination of this action, or upon request, I will return and deliver all information, documents or
other materials produced subject to this Protective Order, and all documents or things which I have
prepared relating to the information, documents or other materials that are subject to the Protective
Order, to my counsel in this action, or to counsel for the party by whom I am employed or retained
or from whom I received the documents.

        The undersigned acknowledges that violation of the Protective Order may result m
penalties for contempt of court.

Name:

Job Title:

Employer:

Business Address:

Date:
                                              Signature



     Case 5:22-cv-00033-KDB-DCK Document 27 Filed 07/08/22 Page 11 of 11
